 Case 98-02675-5-DMW                           Doc 8622 Filed 12/12/07 Entered 12/12/07 10:52:59   Page 1 of
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Holmes P. Harden, Trustee for IHI
P. O. Box 536
Benson, NC 27504




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*357686756485*
DEBRA K. MACHEN
4248 OLD LARKINSVELLE RD.
SCOTTSBORO, AL 35768




                                                UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF NORTH CAROLINA
                                                        RALEIGH DIVISION

IN RE:                                                        )      CASE NO.: 98-02675-5-ATS
INTERNATIONAL HERITAGE, INC.,                                 )
                                                              )      CHAPTER 7
                                                              )
Debtor.                                                       )

                                                             ORDER

        HOLMES P. HARDEN, Trustee, having objected to the claim of Debra K. Machen designated as claim no.

004525 in the above-captioned case in the amount of $1,894.00 and having requested denial of claim, and no

response having been filed with the Court in writing after notice;

        IT IS HEREBY ORDERED that the claim of Debra K. Machen, claim no. 004525, is denied.

SO ORDERED

Signed this 12th day of December, 2007.




                                                                  A. Thomas Small
                                                                  United State Bankruptcy Judge




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